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                         UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF MONTANA

                                                     )
In re:                                               ) Chapter 11
                                                     )
Roman Catholic Bishop of Great Falls, Montana,       ) Bankruptcy Case No. 17-60271-JDP
a Montana Religious Corporation Sole                 )
(Diocese of Great Falls - Billings),                 )
                                                     )
                       Debtor-in-Possession,         )


               ORDER RE AMENDED JOINT MOTION FOR RELIEF FROM
                            THE AUTOMATIC STAY

         On February 12, 2018, this Court considered the (a) the Amended Motion for Relief from

Automatic Stay (the “Motion”)(Docket No. 266) filed by Sexual Abuse Claimants T.K.(1) and

John Doe 10 (collectively, the “Plaintiffs”); (b) the Joinder of the Official Committee of

Unsecured Creditors to Motion for Relief from Automatic Stay (the “Joinder”)(Docket No. 269):

(c) the Memorandum Of Law Of Official Committee Of Unsecured Creditors In Support Of

Joinder And Motion For Relief From The Automatic Stay(Docket No. 261-1); the Diocese of

Great Falls-Billings Objection To Amended Joint Motion For Relief From the Automatic Stay

(Docket No. 277); the Supplemental Evidentiary Submission (Docket No. 297); the Catholic

Mutual’s Opposition To Motion For Relief From Automatic Stay And Suggestion Of Potential

Disabling Conflict (Docket No. 278); argument of counsel for the Plaintiffs, the Official

Committee of Unsecured Creditors, the Debtor and Catholic Mutual Relief Society and the Court

having made findings of fact and conclusions of law on the record that are incorporated herein by

reference,

         IT IS ORDERED:

         1.   The Motion is granted;



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       2.    Sexual Abuse Claimant John Doe 10 (who filed proof of claim no. 57) is relieved

from the automatic stay to continue the prosecution of his claim in the action entitled Jane Does

1 through 16 and Jane Does 17-50 and John Does 1 through 18, and John 19-50 v. Province of

St. Joseph of The Capuchin Order, Inc., et al., Cause No. ADV-11-1078 pending in the Montana

Eighth Judicial District Court, Cascade County through entry of a final judgment, including any

appeals;

       3.    Sexual Abuse Claimant TK(1) (who filed proof of claim no. 17) is relieved from the

automatic stay to continue the prosecution of her claim in the action entitled R.A. (1); et. al. v.

The Diocese of Montana aka The Roman Catholic Diocese of Great Falls-Billings, Cause No.

ADV-11-1078 pending in the Montana Eighth Judicial District Court, Cascade County through

entry of a final judgment, including any appeals;

       4.    Notwithstanding anything contained in this Order, neither Sexual Abuse Claimant

John Doe 10 or Sexual Abuse Claimant TK(1) may take any action to enforce or execute any

judgment against the Debtor, or against the property of the bankruptcy estate without further

order of the Bankruptcy Court, pursuant to notice and hearing; and

       5.    Notwithstanding anything contained in this Order, any order of the Bankruptcy

Court confirming a plan of reorganization may supersede this Order and the relief from stay

granted herein.

Dated: February 15, 2018




Honorable Jim D. Pappas
United States Bankruptcy Judge




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No Objection as to form of Order only:

/s/ Bruce A. Anderson
Elsaesser Anderson, Chtd.
Ford Elsaesser
Bruce A. Anderson
Counsel of Roman Catholic Bishop of Great Falls, Montana,
A Montana Religious Corporate Sole


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